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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                   IN THE UNITED STATES DISTRICT COURT               September 15, 2021
                    FOR THE SOUTHERN DISTRICT OF TEXAS                Nathan Ochsner, Clerk
                             HOUSTON DIVISION


NAHID KHATIB,                         §
                                      §
                   Plaintiff,         §
                                      §
V.                                    §         CIVIL ACTION NO. H-21-2136
                                      §
ROSS STORES, INC. and                 §
JEFF JENKINS,                         §
                                      §
                   Defendants.        §



                       MEMORANDUM OPINION AND ORDER


      Plaintiff Nahid Khatib        ("Plaintiff") filed this action on
May 27, 2021, against defendants Ross Stores, Inc.                ("Ross") and
Je    Jenkins ("Jenkins") (collectively, "Defendants 11 ) in the 113th
District      Court of Harris County,       Texas,   asserting      claims of
negligence       against   all     Defendants     and     against        Jenkins
individually. 1     Ross filed a Notice of Removal on June 30, 2021.2
Pending before the court is Plaintiff's Motion for Remand (Docket
Entry No. 4), to which Ross has filed Defendant Ross Stores, Inc.'s
Response to Plaintiff's Motion for Remand               ("Ross s Response")
                                                              I




(Docket Entry No. 7).· ·For the reasons stated- below, Plaintiff's
Motion for Remand will be denied.


      Plaintiff's
      1
                   Original   Petition   ("Original   Petition"),
Exhibit 5 to Defendant Ross Stores, Inc.'s Notice of . Removal
("Notice of Removal"), Docket Entry No. 1-5, pp. 3-4.    All page
numbers for docket entries in the record refer to the pagination
inserted at the top of the page by the court's electronic filing
system, CM/ECF.
      2
          Notice of Removal, Docket Entry No. 1.
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             I.   Factual Allegations and Procedural Background

       Plaintiff is a citizen of Texas for purposes of diversity
jurisdiction. 3            Ross is a corporation organized under the laws of
Delaware,4 with its principal place of business in California.5
Jenkins           an individual who resided in Texas at the time this
cause of action accrued.6             Plaintiff is seeking " [m] onetary relief
greater than $250,000.00 but less than $1,000,000.00." 7
       Plaintiff alleges in her Original Petition that on or about
October 21, 2019, she was shopping at Ross' s store in Humble,
Texas - which              Ross   owned   and    operated,   and       which   Jenkins
managed - when she fell off of a "slippery stool" and suffered
"severe injuries and damages. 118                Plaintiff alleges that because
Ross's store was open to the public, she was an invitee in the
store. 9      Plaintiff alleges that both Ross (as owner/operator} and



     Original Petition, Exhibit 5 to Notice of Removal, Docket
       3

Entry No. 1 5, p. 1; Notice of Removal, Docket Entry No. 1, p. 2
, 5.

      Original Petition, Exhibit 5 to Notice of Removal, Docket
       4

Entry No 1-5, p. 1.
       5
           Notice of Removal, Docket Entry No. 1, p. 2             1    6.
      Original Petition, Exhibit 5 to Notice of Removal, Docket
       6

Entry No. 1-5, p. 1; see also Notice of Removal, Docket Entry
No. 1, p. 2 1 7 (describing Jenkins as "a citizen of the State of
Texas").
     Original Petition, Exhibit 5 to Notice of Removal, Docket
       7

Entry No. 1-5, p. 5 1 VI(h).
       8
           Id. at 2    1   IV.
       9
           Id. at 3.
                                           -2-
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Jenkins (as premises manager) owed a duty of care to warn Plaintiff

of or make reasonably safe any known dangerous condition, and/or to
reduce or eliminate any unreasonable risk of harm to Plaintiff. 10

Plaintiff alleges that Defendants
      (a)     Failed to ensure that the premises were safe for
              invitees and the public, and free from conditions
              that posed an unreasonable risk of harm to a person
              present on the property;
     (b)      Failed to warn or give notice to [Plaintiff] of any
              unreasonable risk of harm to [Plaintiff];
     (c)      Failed to make reasonably safe the dangerous
              conditions, which as a direct and proximate result,
              caused [Plaintiff] to sustain serious bodily
              injuries;
     (d)      Failed to   inspect,   maintain   and/or   repair   the
              premises;
     (e)      Failed to maintain responsibility in regards to
              protecting the safety of invitees/guests/patrons/
              the public; and
     (f)      Failed to follow and/or implement safety and health
              policies, procedures, regulations, and/or rules
              that would protect the public at large, including
               [Plaintiff], from being harmed or injured.
Original Petition, Exhibit 5 to Notice of Removal, Docket Entry

No. 1-5, pp. 3-4.
     Plaintiff alleges that Jenkins specifically
     (a)      Failed to ensure that the premises were safe for
              invitees and the public and free from conditions
              that posed an unreasonable risk of harm to a person
              present on the property;
     (b)      Failed to adequately hire, train and/or supervise
              personnel at the premises; and



     10   Id. at 3-4.
                                     -3-
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      (c)     Failed to make reasonably safe the dangerous
              conditions to persons on the premises.

Id. at 4.
     Plaintiff also alleged that under the doctrine of respondeat
superior, "ROSS as the owner/operator of the premises, should be
held responsible for the negligent actions and conduct of one or
more of its employees,         agents or servants    (including JENKINS),

which directly and proximately caused the serious injuries of which
[Plaintiff] now complains. " 11
     Ross filed a Notice of Removal on June 30, 2021. 12          Plaintiff
filed a Motion for Remand on July 14, 2021.13          Plaintiff attached
an Affidavit to the Motion for Remand in which she alleged for the
first time that Jenkins instructed Plaintiff to use a stool that
"was wobbly and did not have a hand rail[,]" which "caused [her] to
fall on and injure [her] right arm. " 14      Ross filed its Response on
August 4, 2021. 15

                         II.    Standard of Review

     Except as otherwise expressly provided by Act of Congress, a
defendant or defendants in a civil action brought in a State court

     11
              at 4.
     12
          Notice of Removal, Docket Entry No. 1.
     13   Plaintiff's Motion for Remand, Docket Entry No. 4.
      Plaintiff' s Affidavit, Exhibit 4 to Plaintiff's Motion for
     14

Remand, Docket Entry No. 4-7 ,. p. 2.
     15
          Ross's Resp�:mse, Docket Entry No.. 7.
                                     -4-
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may remove the action to federal court             the action is one over
which the district courts of the United States have. original
jurisdiction.     28 U.S.C.   §   1441(a). District courts have original
jurisdiction over civil actions where the matter in controversy
exceeds the sum or value of $75,000, exclusive of interest and
costs, and is between citizens of different States.                28   u.s.c.
§   1332(a).     "To properly allege diversity jurisdiction under
§   1332, the parties need to allege 'complete diversity.'                  That
means    'all persons on one side             the controversy      [must]     be
citizens of different states than all persons on the other side.'"
Midcap Media Finance, L.L.C. v. Pathway Data, Incorporated, 929
F.3d 310, 313 (5th Cir. 2019) (quoting McLaughlin v. Mississippi

Power Co., 376 F.3d 344, 353 (5th Cir. 2004)).
        "The removing party bears the burden of showing that federal
jurisdiction exists and that removal was proper."                Manguno v.
Prudential Property and Casualty Insurance Co., 276 F.3d 720, 723
(5th Cir. 2002).     Because removal jurisdiction raises significant
federalism concerns, the removal statute is strictly construed,
"and any doubt about the propriety of removal must be resolved in
favor of remand."     Gasch v. Hartford Accident      &   Indemnity Co., 491
F.3d 278, 281-82 (5th Cir. 2007).




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                               III.     Analysis

A.    Plaintiff's Petition States No Valid Claim Against Jenkins

      Ross argues that Plaintiff improperly joined Jenkins with the
intention of defeating diversity jurisdiction, and that Jenkins'
citizenship should be disregarded for diversity purposes. 16
      "In reviewing a claim of fraudulent joinder,                 the district
court must evaluate all factual allegations and ambiguit                  in the

controlling state law in favor of the plaintiff."                 Sid Richardson
Carbon & Gasoline Co. v. Interenergy Resources, Ltd., 99 F.3d 746,

751 (5th Cir. 1996).         The Fifth Circuit recognizes two ways to
establish improper joinder:         "(1) actual fraud in the pleading of
jurisdictional      facts,   or   (2)    inability   of    the     plaintiff to
establish a cause of action against the non-diverse party in state

court."    Smallwood v. Illinois Central Railroad Company, 385 F.3d
568, 573 (5th Cir. 2004).         Ross relies on the second method.17
      To meet      this   burden Ross must show           "that    there is no
reasonable basis for the district court to predict that the
plaintiff might be able to recover against an in-state defendant."
Smallwood, 385 F.3d at 573.         To determine whether a plaintiff has

a reasonable basis of recovery under state law, "[t]he court may
conduct a Rule 12 (b)(6) type analysis, looking initially at the
allegations of the complaint to determine whether the complaint


       Notice of Removal, Docket Entry No. 1, p.
      16
                                                            2   1 7.
            at 3   1 9.
                                        -6-
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states a claim under state law against the in-state defendant."

Id.; see also International Energy Ventures Management, L.L.C. v.
United Energy Group. Ltd., 818 F.3d 193, 200-08 {5th Cir. 2016)
{explaining why federal courts must apply the federal pleading
standard and may not rely on Texas courts' more liberal "fair
notice" pleading standard).             To survive Rule 12(b) (6) scrutiny, a
complaint must contain "sufficient factual matter,                     accepted as
true, to state a claim to relief that is plausible on its. face."
Ashcroft     v.   Igbal,    129    S.    Ct.   1937,   1940       (2009)   (internal
quotations and citations omitted).               "A claim has facial plausi-
bility when the pleaded factual content allows the court to draw
the reasonable inference that the defendant is liable for the

misconduct        leged."   Id.
     Ross     argues   that    Plaintiff cannot            recover    from   Jenkins
individually because Plaintiff's Original Petition does not allege
that Jenkins owed her any independent duty of care apart from the
one that Ross owed her. 18         Under Texas law a corporate officer or
agent can be liable           to   others      for   his    own    negligence,   but
"individual liability arises only when the officer or agent owes an
independent duty of reasonable care to the injured party apart from
the employer's duty."       Leitch v. Hornsby, 935 S.W.2d 114, 117 (Tex.
1996).     Where a plaintiff's complaint fails to differentiate the
duties owed by the individual defendant from those owed by the
corporate defendant, the plainti               cannot impose liability on the

     18
          Notice of Removal, Docket Entry No. 1, p. 5 1, 16-18.
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individual defendant.     Garcia v. Swift Beef Co., No. 2:20-CV-263-Z,

2021 WL 2826791, at *7 (N.D. Tex. July 7, 2021); see also In re
Butt, 495 S.W.3d 455, 467 (Tex. App,.-Corpus . Christi 2016, orig.
proceeding) ("[L]iability cannot be imposed on employees where the
employer and the employees committed the identical negligent acts
or omissions.   11)   •




     As discussed in Part I, supra, Plaintiff's Original Petition
makes substantially identical claims of negligence against Ross,
Jenkins, and Defendants collectively.19        Plaintiff asserts a single
set of facts that she contends would establish liability against
both Ross and Jenkins        proven.    She further asserts that Ross is
liable for Jenkins' conduct under a theory of respondeat superior. 20
She does not plead any facts establishing that Jenkins owed her an

independent duty of care.          Plaintiff's Original Petition thus
offers no reasonable bas        to predict that Plaintiff can recover
from Jenkins individually.       See In re Butt, 495 S.W.3d at 467.         It
follows that Jenkins is improperly joined and that his citizenship
may not be considered for purposes of diversity jurisdiction.

B.   The Court Cannot Consider Plaintiff's Affidavit

     Approximately two weeks after Ross filed its Notice of
Removal,   Plaintiff            her Motion •for Remand. 21         Plaintiff


          Original Petition, Exhibit 5 to Notice of Removal, Docket
Entry No. 1-5, pp. 3-4.
            at 4.
          Notice of Removal, Docket Entry No. 1; Plaintiff's Motion
for Remand, Docket Entry No. 4.
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attached an Affidavit to the motion in which she stated for the

first time that Jenkins instructed Plaintiff to use a stool that
"was wobbly arid did not have a hand rail[,]" which "caused [her] to

fall on and injure [her] right arm.1122       Ross argues that the court

may not consider Plaintiff's Affidavit.23
     District     courts    have   limited   discretion         to    pierce   the
pleadings and "consider 'summary judgment-type evidence such as

affidav�ts and deposition testimony' when reviewing a fraudulent
joinder claim."        Griggs v. State Farm Lloyds, 181 F.3d 694, 700
(5th Cir.      1999)   (quoting Cavallini v.    State Farm Mutual Auto
Insurance Co., 44 F.3d 256, 263 (5th Cir. 1995)).                    "Post-removal
filings may not be considered, however, when or to the extent that
they present new causes of action or theories not raised in the
controlling petition filed in state court."          Id.
     The rationale for determining removal jurisdiction on the
     basis of claims in the state court complaint as it exists
     at the time of removal is obvious. Without such a rule,
     disposition of the issue would never be final, but would
     instead have to be revisited every time the plaintiff
     sought to amend the complaint to assert a new cause of
     action against the nondiverse defendant,         all at
     considerable expense and delay to the parties and the
     state and federal courts involved.
Cavallini, 44 F.3d at 264.
     "[A] summary inquiry is appropriate only to identify the
presence of discrete and undisputed facts that would preclude


      Plaintiff's Affidavit, Exhibit 4 to Plaintiff's Motion for
     22

Remand, Docket Entry No. 4-7, p. 2.
     23
          Ross' s Response, Docket Entry No. 7, p. 9       1·   B. 2.
                                    -9-
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plaintiff 1 s recovery against the in-state defendant."                     Smallwood,
385 F ..3d ·at 573-74 (emphasis added) .                 In other words, a summary
inquiry may doom a claim that meets the 12 (b) (6) standard, but
cannot redeem a claim that fails the 12(b) (6) standard.
       For the reasons explained above, the court concludes that
Plaintiff's Original Petition does not state a plausible claim for
relief against Jenkins individually.                It would be inappropriate for
the    court    to    pierce     the     pleadings       and    consider   Plaintiff's

Affidavit since the only reason to do                          so would be    to save
Plaintiff's chance of recovering against Jenkins, not to "preclude"
it.    Plaintiff's recovery against Jenkins is precluded because it
does not survive a Rule 12(b) (6) analysis.
       Moreover, the facts alleged in Plaintiff's Affidavit are not
"undisputed" facts.            See id.    Jenkins denies telling Plaintiff to

hang scarves or stand on a stool. 24                    He states that the alleged

incident occurred while he was working                         the store 1 s management
office, and he was not present with Plaintiff at any time before or

while she was hanging scarves. 25                 District courts may pierce the

pleadings only to identi               "discrete and undisputed facts" because
summary inquiry "carries a heavy risk' of entering into the merits
                                                    1




of the dispute instead             conducting a "simple and_ quick 11 check on
jurisdiction.        See id.     The court will not weigh the credibility of


        fidavit of Jeff Jenkins, Exhibi� 2 to Ross's Response,
Docket Entry No. 7-2, pp. -�-4 1, 12-13.

               11 12 / 14 •
                                           -10-
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duel'ing affidavits     to determine       jurisdiction.     The time for

Plaintiff to state a negligent-action claim against Jenkins was
when Plaintiff .filed her Original Petition, before Ross removed the
case to federal court.      That time has passed.
      Even if the court were to pierce the pleadings and take all of
the facts alleged in Plaintiff's Affidavit as true, the court could
still not consider the Affidavit because it pleads a theory of
recovery that is different f�om the theory pleaded in Plaintiff's
Original Petition.
      [A] person injured on another's property may have either
     a negligence claim or a premises-liability claim against
     the property owner. When the injury is the result       a
     contemporaneous, negligent activity on the property,
     ordinary negligence principles apply. When the injury
     the result of the property's condition rather than an
     activity, premises-liability principles apply.
United Scaffolding, Inc. v. Levine, 537 S.W.3d 463, 471 (Tex. 2017)
(quoting Occidental Chemical Corp. v. Jenkins, 478 S.W.3d 640, 644
(Tex . 2 o 16)).
      "Negligence and premises liability claims thus are separate
and distinct theories of recovery, requiring plaintiffs to prove
different, albeit similar, elements to secure judgment in their
favor."    Id. (citing Del Lago Partners, Inc. v. Smith, 307 S.W.3d
762, 775-76 (Tex. 2010)).
     In a· negligent activity case, a property owner or
     occupier must "do what a person of ordinary prudence in
     the   same   or   similar   circumstances    would   have
            done," whereas a property owner or occupier in a
     premises liability case must "use ordinary care to reduce
     or eliminate an unreasonable risk of harm created by a
     premises condition which the owner or occupier [of land]

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        knows about. or in the exercise of ordinary care should
        know about."
Id. (quoting Timberwalk Apartments, Partners, Inc. v. Cain, 972
S.W.2d 749, 753 .(Tex. 1998) (alteration in original)).
        "Underpinning the distinctions between these claims is the
principle that 'negligent activity encompasses a malfeasance theory
based on affirmative, contemporaneous conduct by the owner that
caused      the   injury,    while   premises     liability    encompasses     a
nonfeasance theory based on the owner's             lure to take measures to
make the property safe.'"            Id. (citing Del Lago, 307 S.W.3d at
776)

        Federal district courts          regularly have relied
        upon         the distinction between negligent activity
        and premises liability negligence claims, to conclude
        that an individual employee cannot be held liable for
        acts or omissions taken in the course and scope of
        employment without showing the existence of a duty the
        employee owed to the plaintiff that is independent from
        the duty the employer owed to the plaintiff.
Morris v. De Luna,          Civil Action No. DR-20-CV-025-AM-VRG,          2021
WL 2980715, at *5 (W.D. Tex. Feb. 4, 2021) (listing cases).
        Plaintiff's Original Petition relies on a theory of premises
liability or nonfeasance - each allegation in the petition refers
to some omission on Defendants' part, some action that they did not
take to make the property safe. 26               Conversely,    the facts in
Plainti      's Affidavit would establish a claim for negligent action
or malfeasance - something that Jenkins affirmatively                      that


          Original Petition, Exhibit 5 to Notice of Removal, Docket
Entry No. 1-5, pp. 3 4.
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caused Plaintiff's injuries. 27    Because Plaintiff's Affidavit is a

post-removal filing that presents a new theory not raised in the
controlling petition filed in state court,            the court may not
consider it.   See Griggs, 181 F.3d at 700.
     For the reasons explained above, Plaintiff's Motion for Remand
will be denied.     Because the court has no jurisdiction against
Jenkins, he will be dismissed as a defendant.


                     IV.    Conclusions and Order

     For the reasons explained above, Plaintiff's Motion for Remand

(Docket Entry No.    4)    is DENIED,    and this action is DISMISSED

WITHOUT PREJUDICE ag�inst Jeff Jenkins for lack of jurisdiction.

     SIGNED at Houston, Texas, on this 15th day of September, 2021.




                                                SIM LAKE
                                  SENIOR UNITED STATES DISTRICT JUDGE




           Plaintiff's Affidavit, Exhibit       4   to Plainti   's Motion
for Remand, Docket Entry No. 4-7, p. 2.
                                  -13-
